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UNITED STATES DISTRICT COURT c ` __ j n
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v " 'W “c”.'ii; 1`_:,5:;_ C in
PATRICK FLAYTER, JUI)GMENT IN A CIVIL C`K‘sEz-’
Plaintiff,
v.
CORRECTIONS CORPORATION CASE NO: 1203-1235-B

or AMERICA, er al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance With the Agreed Order Of
Dismissal With Prejudice entered on July 5, 2005, this cause is hereby dismissed with prejudice.

 
  
 
 

TED STATES DISTRICT COURT

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(By) Deputy Clerk

 

F TENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 35 in
case 1:03-CV-01235 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed

 

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Honorable J. Breen
US DISTRICT COURT

